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   8                      UNITED STATES DISTRICT COURT
   9                   SOUTHERN DISTRICT OF CALIFORNIA
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  11    NYKEYA KILBY,                           Case No. 09cv2051-MMA(KSC)
  12                       Plaintiff,           ORDER GRANTING JOINT
                                                MOTION TO DISMISS ACTION
  13          v.                                WITH PREJUDICE
  14    CVS PHARMACY, INC.,
                                                [Doc. No. 260]
  15                       Defendant.
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  18         The parties’ jointly move to dismiss the above-captioned action with
  19   prejudice under Federal Rule of Civil Procedure 41(a)(1)(ii). Having found the
  20   procedures set forth in Federal Rule of Civil Procedure 23(e), including class
  21   notice and court approval, do not apply, and good cause appearing, the Court
  22   GRANTS the joint motion and DISMISSES this action in its entirety with
  23   prejudice. The Court DIRECTS the Clerk of Court to close the case.
  24         IT IS SO ORDERED.
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       DATE: January 14, 2020                 ______________________________
  26                                          HON. MICHAEL M. ANELLO
                                              United States District Judge
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